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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                       Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                          Section H
                                                    Judge Jane Triche Milazzo
         Plaintiffs,
                                                    Division 1
 v.                                                 Magistrate Judge Janis van Meerveld

 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

         Defendants.


       MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
       ON LAZONIA BAHAM’S CLAIMS AGAINST INDIVIDUAL DEFENDANTS

        Defendants Jason Napoli, David Pipes, and Graymond Martin (collectively, the “Individual

Defendants”), through undersigned counsel, respectfully submit this memorandum in support of

their motion seeking summary judgment dismissing Lazonia Baham’s only remaining claims

against them—state-law tort claims for abuse of process.

        Ms. Baham’s remaining claims against the Individual Defendants are based solely on the

allegation that Mr. Napoli sent her “several unlawful subpoenas” ordering her to appear at the

DA’s office. But Ms. Baham has inexcusably failed to preserve and come forward with copies of

any of these documents that she claims to have received, and, even more inexcusably, has not even




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conducted a thorough search of the papers in her home to find them. Instead, her claims appear to

rest entirely on her own deposition testimony elicited through leading questions by her lawyer,

which is inconsistent with (1) the clear testimony that she provided in the same deposition earlier

that day; (2) the allegations stated in the operative Complaint; and (3) Ms. Baham’s statement to a

criminal-court judge, shortly after her arrest, that she “never got a subpoena.”

         Furthermore, even if this self-contradictory testimony is credited, Mr. Baham’s hazy

recollection provides no basis for a reasonable fact-finder to conclude that Mr. Napoli is

responsible for sending a “DA subpoena” to Ms. Baham—and he has testified that he surely did

not. Ms. Baham also cannot show any injury as a result of receiving “DA subpoenas,” because her

own allegations establish that she did not respond to them. Ms. Baham’s claims are also prescribed,

and her own deposition testimony demonstrates that she has no basis to invoke contra non

valentem. Finally, Ms. Baham’s claims are legally deficient because the tort of abuse of process

would not apply to the alleged creation and use of a document that is not issued by a court and has

no legal force. Because Ms. Baham’s claims fail as a matter of law for multiple independent

reasons, the Individual Defendants are entitled to summary judgment in their favor.

                                         BACKGROUND

         On February 24, 2013, Isaac Jones attempted to murder Orlando Rickmon, shooting him

multiple times in the stomach, the jaw, and the arm.1 Mr. Rickmon survived but was seriously

injured. While he was in still in the hospital, Mr. Rickmon viewed a photographic lineup and

identified Isaac Jones as the man who shot him.2 Mr. Rickmon’s girlfriend, and the mother of his




1
    See Exhibit 1, Excerpts of Supplemental Police Report, at 27.
2
    See Exhibit 1, Excerpts of Supplemental Police Report, at 27.


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child, was Dinnika Baham.3 After the failed murder attempt, Mr. Jones began threatening to kill

Dinnika, Mr. Rickmon, and their child to prevent Mr. Rickmon from testifying against him.4

Dinnika also heard indirectly that Mr. Jones had threatened to kill her mother, Lazonia Baham, if

he could not get to her.5 On April 23, 2013, Ms. Baham called Dinnika to warn her that Ms. Baham

had just seen Mr. Jones and another man in a burgundy van, and it looked like they were “plotting

something.”6 Later that day, Mr. Jones and another man traveled in a red or burgundy van to the

area near 4018 Baudin Street, where Mr. Rickmon’s aunt lived.7 Mr. Jones and the other man

approached the house and opened fire, killing Mr. Rickmon and his friend, Desmond Bell, and

injuring a young boy.8

          Several days later, Dinnika contacted Detective Clinton Givens, who was investigating the

murder, and gave a recorded interview in which she recounted the threats made by Mr. Jones and

the phone call she received from Ms. Baham on the day of the murder.9 Dinnika also stated that

Ms. Baham had seen video footage on the news of the van used in the murder and had confirmed

that it was the same van in which she had seen Mr. Jones earlier that day. Det. Givens asked

Dinnika whether Ms. Baham would be willing to speak to him, and Dinnika stated that she would.10

The following day, Ms. Baham called Det. Givens on the phone and confirmed that she had seen


3
 Dinnika is referred to by her first name herein to avoid confusion with her mother, Plaintiff
Lazonia Baham, who is referred to as Ms. Baham.
4
    See Exhibit 1, Excerpts of Supplemental Police Report, at 31.
5
    See Exhibit 2, Excerpts of Lazonia Baham Deposition, at 53.
6
    See Exhibit 1, Excerpts of Supplemental Police Report, at 31; Exhibit 2, Baham Depo., at 54–55.
7
    See Exhibit 1, Excerpts of Supplemental Police Report, at 17, 19, 22, 28.
8
    See Exhibit 1, Excerpts of Supplemental Police Report, at 17, 19, 22, 28.
9
 See Exhibit 1, Excerpts of Supplemental Police Report, at 31–32; Exhibit 2, Baham Depo., at
48–57.
10
     See Exhibit 2, Baham Depo., at 56.


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Mr. Jones on the day of the murder in the same van shown on the news.11 Ms. Baham declined to

give an in-person interview to Det. Givens due to fear of Mr. Jones and his associates.12 However,

Ms. Baham provided her address (3520 Audubon Street) and two telephone numbers to Det.

Givens.13

          The charges against Mr. Jones for the murders of Mr. Rickmon and Mr. Bell were presented

to the grand jury in August 2013.14 Ms. Baham was subpoenaed to appear at the Orleans Parish

District Attorney’s Office before the grand jury on three separate dates in August 2013, and she

admitted in her deposition that she received the three subpoenas.15 However, she never appeared

before the grand jury.16 Mr. Jones was indicted for the murders, and over the next two years, as

the case was delayed for various reasons, OPDA personnel tried in vain to contact Ms. Baham

through letters to her known address and calls to her known telephone numbers.

          As the case approached trial on October 13, 2015, Alison Morgado (a Victim/Witness

Coordinator) and OPDA investigators made a renewed effort to locate and contact Ms. Baham.17

Ms. Morgado reached Ms. Baham on a new phone number, and Ms. Baham agreed to come the

following day to meet with Mr. Napoli, who was handling Mr. Jones’s case at the time.18 However,

Ms. Baham did not appear as agreed.19 Investigator Michael Kitchens went to Ms. Baham’s home



11
     See Exhibit 1, Excerpts of Supplemental Police Report, at 32.
12
     See Exhibit 1, Excerpts of Supplemental Police Report, at 32.
13
     See Exhibit 1, Excerpts of Supplemental Police Report, at 13.
14
     See Exhibit 3, Isaac Jones indictment.
15
     See Exhibit 2, Baham Depo., at 95–96, 103–106.
16
     See Exhibit 2, Baham Depo., at 112–114.
17
     See Exhibit 4, Excerpts of Alison Morgado victim-witness notes.
18
     See Exhibit 4, Excerpts of Alison Morgado victim-witness notes.
19
     See Exhibit 2, Baham Depo., at 123.


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on Audubon Street multiple times but no one ever answered the door, even though there were

indications that someone was at home.20 Mr. Kitchens left a business card at Ms. Baham’s home

that contained Mr. Napoli’s phone number.21 Ms. Baham subsequently called Mr. Napoli on the

phone number provided by Mr. Kitchens.22 After Mr. Napoli explained why he was trying to

contact Ms. Baham and informed her of the upcoming trial date, she cursed at him and hung up

the phone.23 After Ms. Baham failed to appear for trial on October 13, 2015, Mr. Napoli requested,

and Judge Laurie White issued, a warrant for her arrest as a material witness.24

          Over the next two months, the Orleans Parish Sheriff’s Office made multiple unsuccessful

attempts to serve Ms. Baham with a court subpoena at her home on Audubon Street.25 On one

occasion, it appears that a deputy sheriff was told, falsely, that Ms. Baham had moved.26 Ms.

Baham was finally arrested on the material-witness warrant in late December 2015 and released

the following week after appearing before Judge White.27 Judge White explained:

          Ms. Baham, the State has been sending you, through this court, witness subpoenas.
          We have not been able to get those to you. . . . I want you to understand, ma’am,
          when you are witness [sic] in a criminal prosecution, if you ignore a subpoena–

Ms. Baham interjected: “I never got a subpoena.”28




20
     See Exhibit 5, Declaration of Michael Kitchens, at ¶¶ 5–8.
21
     See Exhibit 5, Kitchens Declaration, at ¶ 9.
22
     See Exhibit 6, Excerpts of Jason Napoli Deposition, at 98.
23
     See Exhibit 6, Napoli Depo., at 102.
24
     See Exhibit 7, Motion and Order for Material Witness Bond.
25
     See Exhibit 8, CourtNotify records for Ms. Baham.
26
  See Exhibit 8, CourtNotify records for Ms. Baham. Ms. Baham confirmed in her deposition that
she lived at 3520 Audubon Street from 2005 through 2017. See Exhibit 2, Baham Depo., at 27.
27
     See Exhibit 9, Transcript of January 6, 2016 hearing.
28
     See Exhibit 9, Transcript of January 6, 2016 hearing, at 3.


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          Several weeks later, Ms. Baham briefly spoke with Mr. Napoli and made statements that

were inconsistent with her earlier statements to Det. Givens and to Mr. Napoli, prompting Mr.

Napoli to file a “Notice of Disclosure” to provide notice of the inconsistent statements.29 Ms.

Baham was subsequently called by Mr. Jones’s lawyer at a witness in a hearing to perpetuate her

testimony.30 Contrary to the information that Ms. Baham and her daughter provided to Det. Givens,

which clearly implicated Mr. Jones, Ms. Baham testified that she knew Mr. Jones was not the killer

because she had seen him in a different part of town at the time of the murders.31 Ms. Baham also

contradicted the previous statements by her and her daughter linking Mr. Jones to the van used in

the murders, testifying that he was on foot when she saw him.32

          On November 13, 2017, Ms. Baham failed to appear in court despite having previously

received personal service of a subpoena.33 Judge White personally called Ms. Baham and left a

voice message for her, but Ms. Baham never responded.34 Judge White issued an instanter

subpoena for Ms. Baham to appear on March 1, 2018, but Ms. Baham again failed to appear;

instead, a lawyer appeared on her behalf.35 Judge White expressed frustration at Ms. Baham’s

repeated failure to appear:

          You realize that she has ignored my subpoena. She has gotten service, and you
          realize by the grace of my goodness, she is not having another attachment issue. . . .
          And additionally, her daughter has been to Court on additional subpoenas and then
          said, mom will be here on Thursday, mom didn’t come. So then I sent another



29
     See Exhibit 6, Napoli Depo., at 60, 65–66.
30
     See Exhibit 10, Excerpts of April 4, 2016 hearing.
31
     See Exhibit 10, Excerpts of April 4, 2016 hearing, at 13–14.
32
     See Exhibit 10, Excerpts of April 4, 2016 hearing, at 16–17.
33
     See Exhibit 11, Transcript of November 13, 2017 proceedings.
34
     See Exhibit 12, Excerpts of February 20, 2018 hearing, at 2–3.
35
     See Exhibit 13, Transcript of March 1, 2018 proceedings, at 2–3.


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          subpoena. So she can sue everybody, but it’s not going to keep me from arresting
          her if she ignores the Court subpoena.36

          On March 5, 2018, Mr. Jones pleaded guilty to manslaughter and admitted that he killed

Orlando Rickmon, contrary to Ms. Baham’s testimony stating that he could not have done it. At a

sentencing hearing the following day, Judge White lamented that the prosecution of the case had

been impaired by the refusal of witnesses to cooperate and appear to testify:

          This was a plea agreement reached through the Defense and the State, and I
          accepted it with knowledge that you all [the victims’ families] had been informed
          and were aware of the difficulties with the case. And as I said earlier, it makes me
          unhappy every day in this court that people will use the police for what they want
          to use the police for, but then they will not go to the police to try to assist or provide
          testimony whenever there is a murder or when there’s violence in their
          neighborhood or even to relatives. . . . [S]adly, for the District Attorney’s Office to
          get a case together and to get witnesses here we must have the witnesses present.
          . . . This Court issued an arrest warrant at one time for one of the witnesses because
          we could not get her to come to court. . . . I only accept a plea on the morning of
          trial before a jury comes up when there is a case that has the difficulties that this
          case had, and the difficulties stem from the violence involved, the number of
          victims involved, the witnesses that were not willing to cooperate.37

                                      PROCEDURAL HISTORY

          Ms. Baham initially asserted claims against OPDA, Mr. Martin, Mr. Pipes, and Mr. Napoli

under the First, Fourth, and Fourteenth Amendments, alleging wrongful arrest, compelled speech,

retaliation, and prolonged detention, along with vague allegations of substantive-due-process

violations. Ms. Baham also asserted Louisiana state-law claims for fraud and abuse of process.

          On the Defendants’ Rule 12(b)(6) motion, the Court dismissed Ms. Baham’s Fourteenth

Amendment prolonged-detention claim, concluding that “[i]n Orleans Parish, . . . it is not the

responsibility of prosecutors to ensure that material witnesses receive prompt initial appearances

before a judge.” Doc. No. 116 at 38. The Court also dismissed Ms. Baham’s fraud claim,


36
     See Exhibit 13, Transcript of March 1, 2018 proceedings, at 3.
37
     See Exhibit 14, Excerpts of March 6, 2018 sentencing, at 7, 11–12.


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concluding that she “chose not to respond to the ‘subpoenas’ sent to her” and that “[a]ny harm

alleged by her was not because of misrepresentations in the ‘subpoenas.’” Id. at 42. The Court also

held that all Individual Defendants are shielded by absolute prosecutorial immunity with respect

to all alleged conduct other than creating or issuing unlawful subpoenas (and failure to supervise

or intervene in relation to such conduct). See id. at 17 The Court also held that the Individual

Defendants are entitled to qualified immunity with respect to any remaining federal claims. See id.

at 18–26.38 Finally, the Court later granted partial summary judgment dismissing all claims for

injunctive relief against the Individual Defendants for lack of standing. See Doc. No. 200.

       As a result of the rulings described above, Ms. Baham has only one remaining claim against

Mr. Napoli, Mr. Pipes, and Mr. Martin—a state-law claim for abuse of process. Moreover, based

on the Court’s immunity rulings, that claim is limited to seeking damages for whatever injury Ms.

Baham may have suffered due to receiving allegedly unlawful subpoenas directing her to appear

at the DA’s office—any claim for damages based on arrest and imprisonment pursuant to a

material-witness warrant is barred by absolute immunity.

                                      LEGAL STANDARD

       Summary judgment must be granted as to all or part of any claim or defense “if the movant

shows that there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” FED. R. CIV. P. 56(A). “The question at summary judgment is whether the

record, taken as a whole, could lead a rational trier-of-fact to find for the non-moving party.”

Koerner v. CMR Construction & Roofing, LLC, 910 F.3d 221, 227 (5th Cir. 2018) (quotation

omitted). “Credibility determinations have no place in summary judgment proceedings because



38
  See also Doc. No. 179 (granting qualified immunity on supervisory claims against Mr.
Cannizzaro, Mr. Martin, and Mr. Pipes).


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non-movants’ summary judgment evidence must be taken as true.” Id. (quotations omitted).

“However, self-serving allegations are not the type of significant probative evidence required to

defeat summary judgment, and a vague or conclusory affidavit [without more] is insufficient to

create a genuine issue of material fact in the face of conflicting probative evidence.” Id. (quotations

omitted).39 “Therefore, ‘[w]hen opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court should not adopt that

version of the fact for purposes of . . . summary judgment.’” Id. at 227–28 (quoting Scott v. Harris,

550 U.S. 372, 380 (2007)).

       The Supreme Court has explained that “[d]ocuments or objective evidence may contradict

the witness’ story; or the story itself may be so internally inconsistent or implausible on its face

that a reasonable factfinder would not credit it.” Anderson v. City of Bessemer City, 470 U.S. 564,

575 (1985). The Fifth Circuit has similarly noted that testimony “made in response to a leading

question” may be “so inconsistent with [the witness’s] several times reiterated testimony . . . that

it is without probative force and is to be disregarded.” See General Motors Corp. v. Muncy, 367

F.2d 493, 497 (5th Cir. 1966). Finally, other courts have recognized that

       Judges may, under certain circumstances, lawfully put aside testimony that is so
       undermined as to be incredible. The removal of a factual question from the jury is
       most likely when a plaintiff’s claim is supported solely by the plaintiff’s own self-
       serving testimony, unsupported by corroborating evidence, and undermined either
       by other credible evidence, physical impossibility or other persuasive evidence that
       the plaintiff has deliberately committed perjury.



39
  For example, in United States v. Lawrence, 276 F.3d 193, 197 (5th Cir. 2001), the Fifth Circuit
held that the testimony of the defendant (Lawrence) that another person (Peterson) had paid his
debts for him was insufficient to create a genuine issue of fact and defeat summary judgment. The
Fifth Circuit explained: “Lawrence produced no evidence of this payment. Peterson is now dead,
and Lawrence has no documentation confirming Peterson’s repayment of the loans; it does not
seem any such evidence exists. Such self-serving allegations are not the type of significant
probative evidence required to defeat summary judgment.” Id. (quotation omitted).


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Johnson v. Wash. Metro. Area Transit Auth., 883 F.2d 125, 128 (D.C. Cir. 1989); see also Aziz

Zarif Shabazz v. Pico, 994 F. Supp. 460, 470 (S.D.N.Y. 1998) (Sotomayor, J.) (granting summary

judgment because “[f]rom the complaint, to plaintiff’s deposition, to his opposition papers to

defendants’ summary judgment motion, plaintiff’s allegations of the events at issue are replete

with inconsistent and contradictory statements”).

                                         DISCUSSION

       “An abuse of process claim originates from the common law and is recognized under

[Louisiana] jurisprudence as a compensable tort under LSA-C.C. art. 2315.” No Drama, LLC v.

Caluda, 177 So. 3d 747, 751 (La. App. 5th Cir. 2015) (quotation omitted). “The essential elements

of a cause of action for abuse of process are (1) the existence of an ulterior purpose; and (2) a

willful act in the use of the process not in the regular prosecution of the proceeding.” Duboue v.

City of New Orleans, 909 F.2d 129, 132 (5th Cir. 1990). “The precise inquiry involves the misuse

of a process already legally issued whereby a party attempts to obtain some result not proper under

law.” Id.; see also Delcambre v. Mancuso, 268 So. 3d 325, 331 (La. App. 3rd Cir. 2019) (“An

abuse of process occurs when the actor employs legal process in a manner technically correct, but

for a wrongful and malicious purpose to obtain an unjustifiable end or an object which it was not

the purpose of the particular process employed to effect.”) (quotation omitted). “The tort of abuse

of process involves the malicious use of a legal process after the process has been instituted.”

Duboue, 909 F.2d at 132. “The plaintiff must also prove damage resulting from the abuse.” Orrill

v. Mortgage Electronic Registration Systems, Inc., No. 06-cv-10012, 2008 WL 1867706, at *2

(E.D. La. Apr. 24, 2008).40



40
  “Louisiana courts conduct a duty-risk analysis to determine whether to impose liability under
Article 2315.” Nagle v. Gusman, 61 F. Supp. 3d 609, 620 (E.D. La. 2014).


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       Ms. Baham alleges that the Individual Defendants committed the tort of abuse of process

by sending her fraudulent “subpoenas” ordering her to appear for questioning at the DA’s office.

But Ms. Baham has never produced any copies of these alleged documents, and the record as a

whole could not lead any rational factfinder to conclude that any of the Individual Defendant is

responsible for sending such a document to Ms. Baham. Ms. Baham’s allegations also establish

that she suffered no injury as a result of any allegedly fraudulent subpoenas. Ms. Baham’s claims

also must be dismissed because they are prescribed on the face of the pleadings, and because her

own deposition testimony demonstrates that she cannot prove the “exceptional circumstances”

necessary to invoke contra non valentem. Finally, Ms. Baham’s claims fail as a matter of law

because the tort of abuse of process would not apply to the alleged creation and use of a document

that is not issued by a court and has no legal force.

I.     Ms. Baham has never produced a copy of any unlawful “DA subpoenas” that were
       allegedly sent to her by any of the Individual Defendants, and her own vague and self-
       contradictory testimony, which is inconsistent with her allegations in the Complaint,
       cannot create a genuine dispute of fact.

       A.      The Complaint alleges in a conclusory manner that Ms. Baham received
               “several unlawful subpoenas” ordering her to appear at the DA’s office, but it
               includes no other details about these alleged documents, and she has never
               produced copies of any of these alleged documents.

       In the Second Amended Complaint (the “Complaint”), Ms. Baham alleges that she

“received several unlawful subpoenas demanding that she appear at the District Attorney’s

Office.” Doc. No. 52 at ¶ 270. The Complaint does not state even approximately when Ms. Baham

claims to have received such documents, other than to allege that they were received “[i]n the

months that followed” several alleged phone calls with an investigator from the DA’s office (which

are also undated). See id. The Complaint also includes no other information about what these




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allegedly unlawful subpoenas said or what they looked like. Nor does it provide any information

about when Ms. Baham allegedly received these documents.41

          At best, the Complaint alleges that the documents were received at some point between

February 2013 and October 13, 2015. See Doc. No. 52 at ¶¶ 261–273. Ms. Baham does not allege

in the Complaint that the documents she received included the word “subpoena” or that they bore

the seal of the District Attorney’s Office. Notably, although the “DA subpoena” form that was

being used by the DA’s office in 2014 and 2015 was attached as an exhibit to the Complaint, see

Doc. No. 52 at 83, Ms. Baham did not allege that the documents she received were based on that

form. In response to an interrogatory propounded by Mr. Napoli, Ms. Baham admitted that she

could not recall the date on which any allegedly unlawful subpoena was received or the date and

time when she was allegedly ordered to appear at the DA’s office.42

          Ms. Baham has never been able to produce any copy of any unlawful subpoena that was

allegedly delivered to her. This omission is notable because Ms. Baham was able to locate “quite

a few” other subpoenas in her possession concerning the same case, which she provided to her

lawyers.43 The omission is also notable because, as Ms. Baham testified, she “keeps everything.”44

Ms. Baham suggested in her deposition that she had not even conducted a thorough search for the

alleged subpoena: “I had stuff in storage. I just—and I still have a whole lot of stuff that I didn’t




41
   By contrast, Plaintiffs Fayona Bailey and Tiffany LaCroix quoted specific language from the
“subpoena” that they allegedly received, and Ms. Bailey included the date on which she was
allegedly ordered to appear at the DA’s office. See Doc. No. 52 at ¶ 304–307, 317–318.
42
     See Exhibit 15, Baham Response to Interrogatory No. 16 by Jason Napoli.
43
     See Exhibit 2, Baham Depo., at 20.
44
     See Exhibit 2, Baham Depo., at 248.


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get a chance to get through. . . . A whole lot of paper. Probably be in—paperwork I never got a

chance to get to.”45

          Ms. Baham alleges that the “unlawful subpoenas were issued at the direction of Defendant

Napoli,” but that allegation is based solely “[o]n information and belief.” See Doc. No. 52 at ¶ 271.

Ms. Baham has never produced any evidence showing that Mr. Napoli sent her any unlawful

subpoena. In his deposition, Mr. Napoli testified clearly and unambiguously that he is sure he

never sent Ms. Baham a fake subpoena.46 Additionally, Michael Kitchens, the OPDA investigator

who was working with Mr. Napoli in trying to locate Ms. Baham, has submitted a sworn

declaration stating that he never delivered any document to Ms. Baham ordering her to appear at

the DA’s office.47

          B.     Ms. Baham clearly testified in her deposition that the only subpoena she ever
                 received ordering her to come to the DA’s office was a grand jury subpoena in
                 2013, long before Mr. Napoli began working on the Isaac Jones case.

          In her deposition, Ms. Baham contradicted her allegation in the Complaint that she

“received several unlawful subpoenas demanding that she appear at the District Attorney’s

Office,” Doc. No. 52 at ¶ 270, testifying repeatedly that she received only one subpoena directing

her to come to the DA’s office.48 Ms. Baham also testified, clearly and unambiguously, that she

had received this subpoena in 2013, several months after Orlando Rickmon was killed:


45
  See Exhibit 2, Baham Depo., at 248; see also id. (“I probably could find—it will take me—I
don’t know how long.”).
46
     See Exhibit 6, Napoli Depo., at 312–313.
47
     See Exhibit 5, Kitchens Declaration, at ¶¶ 11–14.
48
   See, e.g., Exhibit 2, Baham Depo., at 12 (“I got several, many subpoenas. One of them was, they
sent me, tell—tell me to go to the DA office, and all the rest was for me to go into the courtroom.”).
Ms. Baham’s deposition testimony contradicted her allegations in other critical ways as well. For
example, Ms. Baham alleged in the Complaint that the material-witness motion submitted by Mr.
Napoli was false and fraudulent because Mr. Napoli “withheld from the court that Ms. Baham had
talked with him on multiple occasions, and . . . that she had told him that she planned to attend


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          Q: So this is back in 2013, correct? This is about four months after the murder?

          A: That’s when I received them to go to the DA office.

          Q: That’s when you what, ma’am?

          A: Received the subpoena to go to the DA office.

          Q: So you received the subpoenas to go to the DA’s office in 2013, several months
          after the murder?

          A: Yes.49

          Furthermore, Ms. Baham confirmed in her deposition that the only subpoena she had

received directing her to come to the DA’s office was a lawfully issued grand jury subpoena. As

noted above, Ms. Baham received three court-issued subpoenas ordering her “to appear before the

GRAND JURY for the Orleans Parish Criminal District Court located in the Orleans Parish

District Attorney’s Office, 619 South White St. New Orleans, Louisiana,” on three dates in August

2013.50 Ms. Baham was shown copies of these three subpoenas during her deposition (one of which

contained her signature, which she identified), and she testified that she had received them.51

          When asked to reconcile her receipt of the three grand jury subpoenas with her testimony

that she received only one subpoena to appear at the DA’s office, Ms. Baham expressed some

confusion, though she was confident that she had received at least the subpoena with her signature



court.” Doc. No. 52 at ¶ 274. The Court relied heavily on this allegation in denying the Defendants’
Rule 12(b)(6) motion on Ms. Baham’s Fourth Amendment claim. See Doc. No. 116 at 34–35. Yet
Ms. Baham testified in her deposition that she had never spoken with Mr. Napoli until after her
arrest on the material-witness warrant. See Exhibit 2, Baham Depo., at 123–124.
49
     See Exhibit 2, Baham Depo., at 104.
50
   See Exhibit 2, Baham Depo., at 95–96, 103–106; see also Exhibit 16, August 15, 2013 grand
jury subpoena to Ms. Baham (introduced as Exhibit 3 during her deposition); Exhibit 17, August
22, 2013 grand jury subpoena to Ms. Baham (introduced as Exhibit 4 during her deposition);
Exhibit 18, August 29, 2013 grand jury subpoena to Ms. Baham (introduced as Exhibit 5 during
her deposition).
51
     See Exhibit 2, Baham Depo., at 95–96, 103–106.


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on it.52 Ms. Baham confirmed that, aside from the grand jury subpoenas that were shown to her

and discussed in her deposition, she had not received any other subpoenas directing her to appear

at the DA’s office:

          Q: All right. So I just showed you three subpoenas, correct? So aside from those
          subpoenas, did you receive any other subpoenas telling you to come to the DA’s
          office?

          A: No, not that I’m aware of. Just the letter and subpoena that I got when I stay
          over there to the DA office. All the rest I was going to Court.53

Later in the day, counsel for the Individual Defendants returned to this topic to make sure there

had been no misunderstanding, with respect to terminology or otherwise:

          Q: So, Ms. Baham, earlier this morning I was asking you some questions about
          Grand Jury subpoenas. Do you recall that?

          A: Yes.

          Q: There were three Grand Jury subpoenas that were addressed to you?

          A: Yes, I seen them.

          Q: I asked you other than those subpoenas, did you receive any other subpoenas
          telling you to come to the DA’s office, and you said no, correct?

          A: No, I ain’t seen no more. I said, I had more subpoenas, but it wasn’t with the
          DA office. It’s for the courts.

          Q: I just want to be clear. Were there any other sort of documents that you received
          telling you to come to the DA’s office?

          A: Not that I could recall, no.54




52
  See Exhibit 2, Baham Depo., at 106–107; see also id. at 109 (“Q: I just showed you three
subpoenas, correct? A: Yes. Q: You received at least one of those; is that correct? A: Yes.”); id. at
111 (confirming again that she had received the grand jury subpoena with her signature on it).
53
     See Exhibit 2, Baham Depo., at 116–117 (objection omitted).
54
     See Exhibit 2, Baham Depo., at 165–166.


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          C.     Later in her deposition, in response to leading questions by her lawyer, Ms.
                 Baham contradicted her earlier testimony without explanation by testifying
                 that she received a “DA subpoena” containing the seal of the DA’s office in
                 late 2015 (or perhaps in 2016, after she was released from jail).

          Later in the deposition, however, in response to leading questions by her own lawyer, Ms.

Baham provided answers that flatly contradicted her testimony earlier in the day. Contrary to her

earlier testimony that the only subpoena she had received ordering her to appear at the DA’s office

was a grand-jury subpoena, Ms. Baham testified that she received a document in the mail that was

labeled “subpoena,” that had the District Attorney’s seal on it, and that ordered her to appear at

the DA’s office.55 Ms. Baham’s lawyer then showed her a copy of the blank “DA subpoena” form

that is attached to the Complaint, to which Ms. Baham responded: “That—that’s the one. I seen

that. That’s the one from the DA.”56

          Although she responded to the coaching from her lawyer, Ms. Baham did not explain how

or why she had failed to mention that document when she previously testified that the grand jury

subpoena was the only document she received ordering her to come to the DA’s office. Nor did

she explain how or why she was now able to remember important details about the document (such

as the presence of the seal and the word “subpoena”) that were not included in the Complaint.

Even more puzzling (or disturbing), Ms. Baham continued to insist that she had received only one

subpoena ordering her to come to the DA’s office—notwithstanding that she had now identified

at least two subpoenas that she received and that ordered her to come to the DA’s office.

          Ms. Baham’s testimony in response to leading questions by her lawyer also contradicted

her earlier testimony about when she received the subpoena ordering her to appear at the DA’s

office. Contrary to her earlier testimony that she received the subpoena in 2013, several months


55
     See Exhibit 2, Baham Depo., at 211.
56
     See Exhibit 2, Baham Depo., at 213.


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after the murder of Orlando Rickmon, Ms. Baham testified that she received the subpoena to

appear at the DA’s office “probably like a month or so” after she received a letter dated September

22, 2015.57 Ms. Baham did not attempt to reconcile these contradictory statements or explain how

the date she remembered had jumped more than two years into the future during the course of the

deposition.58

          When asked to state everything she could remember about the allegedly unlawful DA

subpoena, Ms. Baham’s testimony was exceedingly vague and clearly relying on the document

she had just been shown by her lawyer:

          Q: Can you tell me everything you remember about the document that you actually
          received?

          A: Telling me to go to the DA office.

          Q: What else did it say?

          A: They had to—year, the address and thing on there.

          Q: The address—

          A: Just like what you have—like the one with the seal on it. That—that is the one I
          went to the DA office with. That’s the best to my knowledge of what I could
          understand it.59




57
     See Exhibit 2, Baham Depo., at 211.
58
   Even with the help from her lawyer, Ms. Baham could not keep the story straight about when
she supposedly received the “DA subpoena.” At first, Ms. Baham testified that she received the
document “a couple of months after [she] got arrested” in December 2015. See Exhibit 2, Baham
Depo., at 212 (emphasis added); see also id. (“Q: Before you got arrested? A: Arrested, yes. Q:
I’m sorry, Ms. Baham, just to—I think I asked in a confusing way. Before you got arrested? A:
No, no, no, no, no, not before I got arrested.”). Later in the deposition, however, Ms. Baham
testified that she did in fact receive the subpoena to appear at the DA’s office before she was
arrested. See id. at 246–247.
59
     See Exhibit 2, Baham Depo., at 240–241.


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Ms. Baham was unable to describe any other details about the document she supposedly received

without referring to the blank “DA subpoena” form. And because Ms. Baham claims to have found

the document in her mailbox,60 she would not be able to identify who supposedly left it there.

          D.     Viewing the record as a whole, no rational factfinder could conclude that any
                 of the Individual Defendants is responsible for sending a “DA subpoena” to
                 Ms. Baham.

          Ms. Baham has failed to preserve and bring forth the one critical piece of evidence that (if

it ever existed in the first place) would prove whether she received a “DA subpoena”—the

document itself. Furthermore, Ms. Baham admitted that even now, three years after this lawsuit

was filed, she still has not conducted a thorough search of the papers at her house: “I probably

could find—it will take me—I don’t know how long.”61 Under the circumstances, Ms. Baham

cannot defeat summary judgment by relying solely on her own testimony. In Lawrence, 276 F.3d

at 197, the Fifth Circuit held that a debtor could not defeat summary judgment in a promissory-

note action by relying solely on his own testimony that another person had paid his debt, where

there was “no documentation confirming [this] repayment of the loans.”

          Yet the problem with Ms. Baham’s testimony is not merely that, like the defendant in

Lawrence, it is unsupported—it is also exceedingly vague, even with the most charitable


60
  See Exhibit 2, Baham Depo., at 241. Ms. Baham’s reversals, contortions, and self-contradictions
concerning the location of the alleged missing “DA subpoena” are emblematic of her testimony in
general. In response to a request to admit that she had no copies of any unlawful “DA subpoena”
in her possession, Ms. Baham stated that “she may have a copy in an out-of-state storage unit to
which she does not currently have access,” and that she and her counsel were “working diligently
to obtain access to the unit.” See Exhibit 19, Response to RFA No. 4 by Jason Napoli. When Mr.
Napoli submitted an interrogatory inquiring about this supposed storage unit, Ms. Baham refused
to provide any information and instead amended her previous RFA answer to admit that she had
no copies of any unlawful “DA subpoena.” See Exhibit 15, Baham Response to Interrogatory No.
13; Exhibit 20, Baham Amended Response to RFA No. 4. Yet even after this admission, Ms.
Baham continued to testify in her deposition that the subpoena probably does exist somewhere in
her own home in papers that she has not even looked through.
61
     See Exhibit 2, Baham Depo., at 248.


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interpretation, and both self-contradictory and inconsistent with the allegations of her Complaint.

The testimony given by Ms. Baham in response to her lawyer’s leading questions, which

contradicts without explanation her clear testimony given earlier in the same day, is precisely the

sort of testimony that can and should be “put aside” because it is “so undermined as to be

incredible.” Johnson, 883 F.2d at 128; see also Muncy, 367 F.2d at 497 (testimony “made in

response to a leading question” may be “so inconsistent with [the witness’s] several times

reiterated testimony . . . that it is without probative force and is to be disregarded”). This testimony

is also inconsistent with Mr. Baham’s assertion to Judge White on January 6, 2016, that she “never

got a subpoena.”62 Ms. Baham’s testimony is “so internally inconsistent [and] implausible on its

face that a reasonable factfinder would not credit it.” Anderson, 470 U.S. at 575.

          And even if one were inclined to credit Ms. Baham’s most recent, highly coached story

about her alleged “DA subpoena” and discount the other versions of the story, the vagueness of

Ms. Baham’s recollection provides no basis for a reasonable fact-finder to conclude that Mr.

Napoli is responsible for sending a “DA subpoena” to Ms. Baham—particularly when he has

unambiguously testified that he did not.63 As to Mr. Pipes and Mr. Martin, Ms. Baham has not

even alleged that they personally sent her any fraudulent subpoena or directed that any such

document be sent to her. See generally Doc. No. 52. Because the record as a whole could not lead

any rational factfinder to conclude that any of the Individual Defendant is responsible for sending

a “DA subpoena” to Ms. Baham, the Individual Defendants are entitled to summary judgment.




62
     See Exhibit 9, Transcript of January 6, 2016 hearing, at 3.
63
     See Exhibit 6, Napoli Depo., at 312–313.


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II.      Even if Ms. Baham could prove that she received unlawful “DA subpoenas” sent by
         the Individual Defendants, her own allegations establish that she suffered no injury
         as a result.

         Even if the Court concludes that Ms. Baham’s deposition testimony creates a genuine

dispute as to whether she received an unlawful “DA subpoena” that was sent by the Individual

Defendants, Ms. Baham’s claims would nevertheless fail because she suffered no injury as a result.

Ms. Baham admitted in her Complaint that she “did not go to the private meetings at the District

Attorney’s Office,” as allegedly directed by the “unlawful subpoenas” that she claims to have

received. See Doc. No. 52 at ¶ 272. The Court relied on Ms. Baham’s allegations to dismiss her

fraud claims, explaining: “She also chose not to respond to the ‘subpoenas’ sent to her. Any harm

alleged by her was not because of misrepresentations in the ‘subpoenas.’” See Doc. No. 116 at 42

(footnote omitted). Moreover, unlike two of the other Plaintiffs in this action, Ms. Baham does not

allege that she hired an attorney in response to the “subpoenas.” See id.

         A plaintiff alleging abuse of process “must also prove damage resulting from the abuse.”

Orrill v. Mortgage Electronic Registration Systems, Inc., No. 06-cv-10012, 2008 WL 1867706, at

*2 (E.D. La. Apr. 24, 2008). Because Ms. Baham’s own allegations establish that she suffered no

such damage, her claims must be dismissed.

III.     Ms. Baham’s claims are prescribed on the face of the pleadings, and she cannot prove
         the “exceptional circumstances” necessary to invoke contra non valentem,
         particularly when she has testified that, before December 2015, she believed the “DA
         subpoena” she allegedly received was illegal.

         Even if the Court concludes that Ms. Baham’s deposition testimony creates a genuine

dispute as to whether she received an unlawful “DA subpoena” that was sent by the Individual

Defendants, and as to whether she suffered some injury as a result, that same testimony establishes

that her claims are prescribed.




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       The tort of abuse of process is subject to a liberative prescriptive period of one year, which

“commences to run from the day injury or damage is sustained.” No Drama, LLC v. Caluda, 177

So. 3d 747, 752 (La. App. 5th Cir. 2015). If “prescription is evident from the face of the pleadings,

. . . the plaintiff bears the burden of showing the action has not prescribed.” Spott v. Otis Elevator

Co., 601 So. 2d 1355, 1361 (La. 1992). Ms. Baham alleges in the Complaint that she received

unlawful subpoenas before October 13, 2015, more than two years before suit was filed on October

17, 2017. See Doc. No. 52 at ¶¶ 270–273. Additionally, although Ms. Baham’s deposition

testimony is unclear and self-contradictory as to when she allegedly received an unlawful

subpoena, none of her accounts would put the date at less than one year before suit was filed.

Accordingly, Ms. Baham’s abuse-of-process claim based on the alleged receipt of unlawful

subpoenas is prescribed on its face.

       The Plaintiffs previously argued that those who allegedly received unlawful subpoenas

were initially “not aware of the facts necessary to plead their claims,” because “[n]o one who

received on the of the fraudulent subpoenas had reason to question its legitimacy.” See Doc. No.

67 at 5, 9–10. At the Rule 12(b)(6) motion-to-dismiss stage, the Court accepted the Plaintiffs’

allegations and declined to dismiss Ms. Baham’s claims on the basis of prescription, relying on

the doctrine of contra non valentem. See Doc. No. 116 at 47.64

       However, Ms. Baham cannot carry her summary-judgment burden of producing evidence

that would establish the elements of contra non valentem and save her claims from prescription.

In her deposition testimony, Ms. Baham admits having at least constructive notice of the alleged

facts underlying her claim more than one year before filing suit. Ms. Baham testified that when


64
  See also Doc. No. 116 at 47 (“At this early stage in the proceedings, this Court agrees. . . . Taken
as true, Plaintiffs Singleton, Baham, and Doe’s allegations show they had no reason to know of
the critical facts underlying their claims until at least April 2017 . . . .”).


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she received the allegedly unlawful subpoena to appear at the DA’s office, something seemed “not

right about it” because it was “different from the other subpoenas” she had received.65 She testified

that she believed the document she received was illegal after she went to the court and the DA’s

office and spoke to someone about it:

          Q: When did you believe it was illegal?

          A: You know, when everybody in the courtroom—when I go there and the deputies,
          none of them don’t know what it is—really is, and when the—when the lady saying
          that must be the new thing they doing.

          Q: What day was that?

          A: When I went over there to the DA office.

          Q: Was this before you got arrested?

          A: Yes.

          Q: And you showed somebody the subpoena you say?

          A: I went—to the lady in the courtroom and over there I showed the deputy at the
          DA office.66

In response to further questioning, Ms. Baham confirmed her answer once again:

          Q: Ms. Baham, I just asked you when did you start to believe they were unlawful
          . . . and you said when you went to the DA’s office; is that correct?

          A: I went to the DA. I had done been telling them when I’m showing them the
          subpoena something ain’t right about the subpoena. I went to—when I went there
          with them saying, I don’t know what this—what this about and thing. It must be
          that new thing what they doing, Cannizzaro and them doing.

          Q: And that was before you got arrested, correct?

          A: Yes.67




65
     See Exhibit 2, Baham Depo., at 243.
66
     See Exhibit 2, Baham Depo., at 245 (objection omitted).
67
     See Exhibit 2, Baham Depo., at 247 (objection omitted).


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Thus, Ms. Baham clearly testified that, before her arrest in December 2015, she believed that the

“DA subpoena” she allegedly received was unlawful, and that she believed, and even told others,

that “something ain’t right about the subpoena.”68

         The Louisiana Supreme Court has explained that

         Prescription commences when a plaintiff obtains actual or constructive knowledge
         of facts indicating to a reasonable person that he or she is the victim of a tort. A
         prescriptive period will begin to run even if the injured party does not have actual
         knowledge of facts that would entitle him to bring a suit as long as there is
         constructive knowledge of same. Constructive knowledge is whatever notice is
         enough to excite attention and put the injured party on guard and call for inquiry.
         Such notice is tantamount to knowledge or notice of everything to which a
         reasonable inquiry may lead. Such information or knowledge as ought to
         reasonably put the alleged victim on inquiry is sufficient to start running of
         prescription.

Campo v. Correa, 828 So. 2d 502, 510–11 (La. 2002) (quotations omitted, emphasis added). At

the very least, Ms. Baham had constructive knowledge that the alleged subpoena was unlawful on

the date when she claims to have received it and realized that it was “not right.” Her testimony

plainly indicates that she was “on guard” and her attention was excited at that time. See Campo,

828 So. 2d at 510–11.

         Furthermore, there is no basis to conclude that any of the Individual Defendants “engage[d]

in conduct which prevent[ed] the plaintiff from availing [her]self of [her] judicial remedies.” See

Prevo v. State ex rel. Dep’t of Pub. Safety & Corr. Div. of Prob. & Parole, 187 So. 3d 395, 398

(La. 2015). “[T]here are three elements which must be established in order for the third category

of contra non valentem to apply: (1) the defendant engages in conduct which rises to the level of

concealment, misrepresentation, fraud or ill practice; (2) the defendant’s actions effectually

prevented the plaintiff from pursuing a cause of action; and (3) the plaintiff must have been



68
     See Exhibit 2, Baham Depo., at 245–247.


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reasonable in his or her inaction.” Id. at 398–99. “Where plaintiff is able to establish such conduct,

prescription is suspended until plaintiff is made aware of the truth of the matter.” In re Ford Motor

Co. Bronco II Prod. Liab. Litig., 982 F. Supp. 388 (E.D. La. 1997). Ms. Baham cannot show that

any Individual Defendant engaged in “concealment, misrepresentation, fraud or ill practice,” and

even if she could, her own testimony establishes that she was nevertheless able to discern the

illegality of the alleged “DA subpoena” by December 2015 at the latest. In short, there was

nothing—and certainly no action by the Individual Defendants—preventing Ms. Baham from

timely filing suit.

IV.     Because the tort of abuse of process is based specifically on misuse of lawfully issued
        court process, it would not apply to the alleged creation and use of a document that is
        not issued by a court and has no legal force.

        Ms. Baham’s abuse-of-process claims also must dismissed because her allegations, even if

proven, do not set forth a legally cognizable claim. More than one hundred years ago, the Fifth

Circuit held that Louisiana law (specifically Article 2315 of the Louisiana Civil Code) would

recognize the common-law tort of abuse of process. See Gonsouland v. Rosomano, 176 F. 481,

486–87 (5th Cir. 1910). From this early date, the Fifth Circuit recognized that abuse of process “is

applicable to all kinds of abuses in the service of lawful process.” Id. at 486 (emphasis added).

Eighty years later, the Fifth Circuit explained again that “[t]he precise inquiry” in a claim for abuse

of process “involves a misuse of a process already legally issued whereby a party attempts to

obtain some result not proper under law.” Duboue v. City of New Orleans, 909 F.2d 129, 132 (5th

Cir. 1990) (emphasis added). Louisiana courts have similarly held that an abuse-of-process claim

necessarily involves misuse of lawful process. See, e.g., Almerico v. Dale, 927 So. 2d 586 (La.

App. 5th Cir. 2006) (“In reviewing Louisiana cases on abuse of process, we find none in which

the ‘process’ part of the cause of action has been considered anything other than legal process, or

court process.”) (emphasis added); Delcambre v. Mancuso, 268 So. 3d 325, 331 (La. App. 3rd Cir.


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2019) (“An abuse of process occurs when the actor employs legal process in a manner technically

correct, but for a wrongful and malicious purpose to obtain an unjustifiable end or an object which

it was not the purpose of the particular process employed to effect.”) (quotation omitted, emphasis

added).

          As previously recognized by the Court, the Plaintiffs allege that the Defendants used “a

document manufactured . . . to look like a court-ordered subpoena that was, in fact, nothing more

than an invitation by prosecutors to meet with them outside of court.” Doc. No. 116 at 1. “Because

the ‘subpoenas’ were not actually approved by a judge, but instead were engineered by prosecutors,

the documents did not give anyone the authority to fine or jail witnesses who failed to appear.” Id.

at 2; see also Doc. No. 52 at ¶ 447 (alleging that the Defendants “creat[ed], serv[ed], and/or

approv[ed] official-seeming ‘subpoenas’” that “conveyed the material misrepresentation that the

‘subpoenas’ were real”). Ms. Baham alleges that the Individual Defendants sent such a document

to her. But even if Ms. Baham could prove these allegations (and she cannot), such actions would

not be cognizable under the tort of abuse of process. Simply put, there is no “process.” The tort of

abuse of process concerns the misuse of “legally issued” process after it has been legally issued—

not the unilateral creation of a document that has no legal effect (even if it purports to). See

Duboue, 909 F.2d at 132. Because Ms. Baham’s allegations, even accepted as true, would not

establish that any of the Individual Defendants committed the tort of abuse of process, the

Individual Defendants are entitled to judgment as a matter of law.

                                          CONCLUSION

          For the reasons explained above, Jason Napoli, David Pipes, and Graymond Martin are

entitled to summary judgment in their favor on the abuse-of-process claims asserted by Lazonia

Baham. Additionally, because there are no other claims pending against Mr. Napoli, he should be

dismissed as a party to the case.


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                                       Respectfully submitted,


                                        /s/ Matthew J. Paul
                                       Richard C. Stanley, 8487
                                       W. Raley Alford, III, 27354
                                       Matthew J. Paul, 37004
                                       STANLEY, REUTER, ROSS, THORNTON
                                        & ALFORD, LLC
                                       909 Poydras Street, Suite 2500
                                       New Orleans, Louisiana 70112
                                       Telephone: (504) 523-1580
                                       Facsimile: (504) 524-0069

                                       Counsel for Graymond Martin, David
                                       Pipes, and Jason Napoli




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